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                             UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MASSACHUSETTS

  In Re:                                        )            Chapter 13
  SHANNON S. HADDON                             )            Case No. 19-13094-MSH
           Debtor                               )
  ---------------------------------------------


                               MOTION OF DEBTOR FOR DISMISSAL


To the Honorable Melvin S. Hoffman, Bankruptcy Judge:

        Now comes the Debtor in the above captioned case and pursuant to 11 U.S.C. 1307(b),

requests that this Court dismiss this case. This case has not been converted under Section 706,

1112 or 1208 of this Title.

   WHEREFORE, the Debtor requests that this Court enter an Order dismissing this case.


                                                    Shannon S. Haddon
                                                    By his Counsel,


Dated: September 22, 2020                           /s/Gary W. Cruickshank, Esq.
                                                    21 Custom House Street, Suite 920
                                                    Boston MA 02110
                                                    (617)330-1960
                                                    (BBO107600)
                                                    gwc@cruickshank-law.com




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                                 CERTIFICATE OF SERVICE
I, Gary W. Cruickshank, hereby certify that on September 22, 2020, I electronically filed with
the Clerk of the Bankruptcy Court, the foregoing Motion and served same in the following
manner upon the interested parties:

Email service: via the Court’s CM/ECF system which sent notification of such filing to the
following:

   •   Carolyn Bankowski-13-12      13trustee@ch13boston.com
   •   Andrew Cannella      bkecf@bmpc-law.com
   •   John Fitzgerald   USTPRegion01.BO.ECF@USDOJ.GOV
   •   Stephen C Garabedian      Stephen@garabedianlaw.net
   •   David T. Mazzuchelli    mazzucheld@dor.state.ma.us
   •   Michael E. Swain     mswain@dhnewengland.com, bankruptcy@dhnewengland.com




And by regular United States mail, postage prepaid upon all creditors on the annexed list:



                                             /s/Gary W. Cruickshank, Esq.




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  Daniel M.D. Drinkwater as adm of estate
  of Patricia Waterhouse
  106 Hoffman Road
  Flemington, NJ 08822
  Horizon Beverage Co.
  45 Commerce Way
  Norton, MA 02766
  Horizon Beverage Co.
  c/o Stephen Garabedian, Esq.
  500 West Cummings Park, Suite 2425
  Woburn, MA 01801
  Joseph M. Guay
  PO Box 1294
  Nantucket, MA 02554
  Nantucket Bank/Sovereign/Santander
  1130 Berkshire Blvd.
  Reading, PA 19610
  Santander Bank
  450 Penn Street
  Mail Code 10-421-MC3
  Reading, PA 19602
  Santander Bank
  c/o Bendett & McHugh
  270 Farmington Avenue, Ste. 151
  Farmington, CT 06032
  Scott W. Anderson dba The Anderson Co.
  c/o James T. Ranney, Esq.
  4 Thirty Acres Lane
  Nantucket, MA 02554
  Tom Hanlon Lanscaping Inc.
  2 Greglen Avenue
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  Town of Nantucket
  Box 1294
  Nantucket, MA 02554




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  American Express National Bank
  c/o Becket and Lee LLP
  PO Box 3001
  Malvern, PA 19355-0701

  Mass. Dept. of Revenue
  Attn: Bankruptcy Unit
  PO Box 9564
  Boston MA 02114-9564

  Verizon by American InfoSource as agent
  4515 N Santa Fe Ave
  Oklahoma City, OK 73118




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